Case 2:03-cv-02789-.]DB-dkv Document 46 Filed 08/16/05 Page 1 of 2 P_ ge|D 76

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FILED B"i’ ”,r,._,Q. D.G.
IN THE UNITED STATES DISTRICT COURT

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' #.,.‘ ‘a
DEDDRICK CAMPBELL, W!® GF w than 153
Plaintiff,
V' NO. 03-2739-B/v

CCL CUSTOM MANUFACTURING, INC., et al.,

Defendants.

 

()RDER OF REFERENCE

 

Before the court is Plaintiff’s Motion for Continuance and Second Motion to Compel
Production of Documents and Responses to Interrogatories filed on August 4, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. _SE Rule 72(a), Federal Rules of Civil Procedure.

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IT rs so oRDEREI) this / (7 day of Augusr, 2005.

/N§L~\

.'DANIEL BREEN \
UN TE sTArEs DISTRICT JUDGE

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With Rule 58 and/or 79(3) FHCP on

 

 

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This notice confirms a copy of the document docketed as number 46 in
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Honorable J. Breen
US DISTRICT COURT

